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                                                                                     Ch 13 Model Plan (rev 11-2017)


                                  UNITED STATES BANKRUPTCY COURT
                                        Southern District of Indiana

In re:                                                      )

                                                            )

Karl Lee Thomas                                             ) Case No.

Debtor(s)                                                   )

                                            CHAPTER 13 PLAN
                                                 Original
                                        Amended Plan #___ (e.g.1st, 2nd)
                                        ***MUST BE DESIGNATED**


1. NOTICE TO INTERESTED PARTIES:
The Debtor must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as “Not Included,” if neither box is checked, or if both boxes are checked, the
provision will be ineffective if set out later in the plan.

         A limit on the amount of a secured claim, pursuant to paragraph 8.
1.1      (b), which may result in a partial payment or no payment at all to          Included        Not included
         the secured creditor.

         Avoidance of a judicial lien or nonpossessory, non-purchase
1.2      money security interest. Any lien avoidance shall occur by                  Included        Not included
         separate motion or proceeding, pursuant to paragraph 12.

1.3      Nonstandard provisions, set out in paragraph 15.                            Included        Not included


2.    GENERAL PROVISIONS:
      (a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your
      attorney. If you oppose any provision of this plan, you must file a timely written objection. This plan
      may be confirmed without further notice or hearing unless a written objection is filed before the deadline
      stated on the separate Notice you received from the Court.
      (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan. Absent
      a Court order determining the amount of the secured claim, the filed proof of claim shall control as to the
      determination of pre-petition arrearages; secured and priority tax liabilities; other priority claims; and the
      amount required to satisfy an offer of payment in full. All claims that are secured by a security interest in
      real estate shall comply with the requirements of Federal Rule of Bankruptcy Procedure (“FRBP”)
      3001(c)(2)(C).
      (c) NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all creditors
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     with claims secured by a security interest in real estate shall comply with the requirements of FRBP
     3002.1(b) and (c) without regard to whether the real estate is the Debtor’s principal residence. If there is
     a change in the mortgage servicer while the bankruptcy is pending, the mortgage holder shall file with
     the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee (“Trustee”) a Notice
     setting forth the change and providing the name of the new servicer, the payment address, a contact
     phone number and a contact e-mail address.
     (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage creditors in
     Section 8(c) (whose rights are not being modified) or in Section 11 (whose executory contracts/unexpired
     leases are being assumed) may continue to mail customary notices or coupons to the Debtor or the
     Trustee notwithstanding the automatic stay.
     (e) EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8, the Trustee
     may increase the amount of any “Equal Monthly Amount” offered to appropriately amortize the claim.
     The Trustee shall be permitted to accelerate payments to any class of creditor for efficient administration
     of the case.
     (f) PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an order lifting
     the stay, no distributions shall be made on any secured claim relating to the subject collateral until such
     time as a timely amended deficiency claim is filed by such creditor and deemed allowed, or the
     automatic stay is re-imposed by further order of the Court.


3. SUBMISSION OF INCOME: INCOME: Debtor submits to the supervision and control of the Trustee all or such
portion of future earnings or other future income or specified property of the Debtor as is necessary for the
execution of this plan.


4.   PLAN TERMS:


     (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay $170.00 per Month to the Trustee, starting
     not later than 30 days after the order for relief, for 12 months, and then shall commence paying the
     amount of $422.00 for the remaining 48 months, for a total amount of $22296.00. Additional payments
     to Trustee and/or future changes to the periodic amount proposed are: __________________________ .
     (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C.
     §1306(a)(1) or if the Trustee discovers undisclosed property of the estate, then the Trustee may obtain
     such property or its proceeds to increase the total amount to be paid under the plan. However, if the
     Trustee elects to take less than 100% of the property to which the estate may be entitled OR less than the
     amount necessary to pay all allowed claims in full, then a motion to compromise and settle will be filed,
     and appropriate notice given.
     (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments owed
     to secured lenders require additional funds from the Debtor's income, the Debtor and the Trustee may
     agree that the Debtor(s) will increase the periodic payment amount or that the time period for making
     payments will be extended, not to exceed 60 months. Creditors will not receive notice of any such
     agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party may
     request in writing, addressed to the Trustee at the address shown on the notice of the meeting of
     creditors, that the Trustee give that party notice of any such agreement. Agreements under this section
     cannot extend the term of the plan more than 6 additional months.
     (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion
     pursuant to 11 U.S.C. §1329. Service of any motion to modify this plan shall be made by the moving
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     party as required by FRBP 2002(a)(5) and 3015(h), unless otherwise ordered by the Court.


5.   PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR’S ATTORNEY FEES):
     NONE
All allowed administrative claims will be paid in full by the Trustee unless the creditor agrees otherwise:
                        Creditor                               Type of Claim             Scheduled Amount
Rowdy G Williams Law Firm, PC                              Attorney’s Fees          $4,000.00


6.   PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:
                                 OBLIGATIONS:
     NONE
(a) Ongoing Domestic Support Obligations. Debtor shall make any Domestic Support Obligation payments
that are due after the filing of the case under a Domestic Support Order directly to the payee.
(b) Domestic Support Obligation Arrears.
     NONE
The following arrearages on Domestic Support Obligations will be paid in the manner specified:
     Creditor              Type of Claim                     Estimated Arrears                   Treatment




7. PAYMENT OF SECURED CLAIMS RELATING SOLELY TO THE DEBTOR’S PRINCIPAL
RESIDENCE:
     NONE
As required by Local Rule B-3015-1(d), if there is a pre-petition arrearage claim on a mortgage secured by the
Debtor’s principal residence, then both the pre-petition arrearage and the post-petition mortgage installments
shall be made through the Trustee. Initial post-petition payment arrears shall be paid with secured creditors. If
there are no arrears, the Debtor may pay the secured creditor. Before confirmation, the payment to the
mortgage lender shall be the regular monthly mortgage payment unless otherwise ordered by the Court or
modified pursuant to an agreement with the mortgage lender. After confirmation, payment shall be as set forth
below. Equal Monthly Amount and Estimated Arrears listed below shall be adjusted based on the filed claim
and/or notice. Delinquent real estate taxes and homeowners’ association or similar dues should be treated
under this paragraph.
Creditor Residential Address Estimated Arrears Equal Monthly Amount Select One for Mortgages ONLY:
                                                                                 Trustee Pay       Direct Pay



No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments made
by the Trustee under the provisions of the Plan, unless allowed by Order of the Court.


8.   PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER PARAGRAPH 7:
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     (a) Secured Claims as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:
   NONE
Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation, as
to secured claims not treated under paragraph 7 and as to which valuation under 11 U.S.C. § 506 is not
applicable, the Trustee shall pay monthly adequate protection payments equal to 1% of a filed secured claim.
The Trustee shall disburse such adequate protection payments to the secured creditor as soon as practicable
after receiving plan payments from the Debtor, and the secured claim will be reduced accordingly. After
confirmation of the plan, unless otherwise provided in paragraph 15, the Trustee will pay to the holder of each
allowed secured claim the filed claim amount with interest at the rate stated in column 5.
  (1)       (2)              (3)                    (4)                      (5)                 (6)
Creditor Collateral     Purchase Date     Estimated Claim Amount        Interest Rate    Equal Monthly Amount



     (b) Secured Claims as to Which 11 U.S.C. § 506 Valuation is Applicable:
   NONE
Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation as
to secured claims not treated under paragraph 7 but as to which § 506 valuation is applicable, the Trustee shall
pay monthly adequate protection payments equal to 1% of the value of the collateral in column 5. The Trustee
shall disburse such adequate protection payments to the secured creditor as soon as practicable after receiving
plan payments from the Debtor, and the secured claim will be reduced accordingly. After confirmation of the
plan, unless otherwise provided in paragraph 15, the Trustee will pay to the holder of each allowed secured
claim the value amount in column 5 at the equal monthly amount in column 7 with interest at the rate stated in
column 6.
  (1)       (2)              (3)                (4)            (5)          (6)                 (7)
Creditor Collateral     Purchase Date      Scheduled Debt     Value    Interest Rate    Equal Monthly Amount



     (c) Curing Defaults and/or Maintaining Payments:


   NONE
Trustee shall pay the allowed claim for the arrearage, and Debtor shall pay regular post-petition contract
payments directly to the creditor:
 Creditor           Collateral/ Type of Debt              Estimated Arrears             Interest Rate (if any)



     (d) Surrendered/Abandoned Collateral:
   NONE
The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate abandons
any interest in, and the automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the listed collateral and
the automatic stay pursuant to 11 U.S.C. §1301 is terminated in all respects. Any allowed unsecured claim
resulting from the disposition of the collateral will be treated in paragraph 10.(b) below. Upon confirmation,
the secured creditor is free to pursue its in rem rights.
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 Creditor                 Collateral/ Surrendered/Abandoned                      Scheduled Value of Property




9.     SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:
      NONE
All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest thereon
(whether or not an interest factor is expressly offered by plan terms). All allowed priority claims shall be paid
in full by the Trustee, exclusive of interest, unless the creditor agrees otherwise:
     Creditor              Type of Priority or Secured Claim                   Scheduled Debt           Treatment




10.     NON-PRIORITY UNSECURED CLAIMS:
       (a) Separately Classified or Long-term Debts:
      NONE

     Creditor            Basis for Classification              Treatment        Amount          Interest (if any)



       (b) General Unsecured Claims:
           Pro rata distribution from any remaining funds; or
           Other: ____________


11.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
      NONE
All executory contracts and unexpired leases are REJECTED, except the following, which are assumed:
                      Creditor                         Property Description                  Treatment

Progressive Leasing                                 Refrigerator                 Pay outside the plan


12.     AVOIDANCE OF LIENS:


      NONE
Debtor will file a separate motion or adversary proceeding to avoid the following non-purchase money
security interests, judicial liens, wholly unsecured mortgages or other liens that impair exemptions:
           Creditor                  Collateral / Property Description           Amount of Lien to be Avoided

Personal Finance                 2 Flat Screen Televisions, gun               $2166.00
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13. LIEN RETENTION: With respect to each allowed secured claim provided for by the plan, the holder
of such claim shall retain its lien securing such claim until the earlier of a) the payment of the underlying debt
determined under non-bankruptcy law or b) entry of a discharge order under 11 U.S.C. § 1328.


14. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as expressly
retained by the plan or confirmation order, the property of the estate shall revest in the Debtor upon
confirmation of the Debtor’s plan, subject to the rights of the Trustee, if any, to assert claim to any additional
property of the estate acquired by the Debtor post-petition pursuant to operation of 11 U.S.C. § 1306.


15.   NONSTANDARD PROVISIONS:
   The Debtor incurred a loan secured by his 401(k) that is set to be deducted from his paycheck
commencing October 2019. The plan shall step-up October 2020 in the amount of $156.00 when his 401(k)
loan is paid off. The plan will also step-up an additional $96.00 October 2020 when lease to Progressive
Leasing is paid off September 15, 2020.


Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard provision
placed elsewhere in the plan is void. These plan provisions will be effective only if the included box in
Paragraph 1.3 of this plan is checked.
________________


Date: 09/26/2019
                                                                                              /s/ Karl Lee Thomas
                                                                                          Printed Name of Debtor



                                                                                    Printed Name of Joint Debtor

                                                                                            /s/ Andrew Wilkerson
                                                                                            Counsel for Debtor(s)
                                                                               Rowdy G Williams Law Firm, PC
                                                                                        1117 Wabash Avenue
                                                                                        Terre Haute, IN 47807


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for the Debtor(s) also
certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those
contained in the form plan adopted by this Court, other than any nonstandard provisions included in paragraph
15.
